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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
Carol Melton



(In the space above enter the full name(s) of the plaintiff(s). )
                                                                                   COMPLAINT
                    -against-

Poughkeepsie City School District                                            Jury Trial:   Q   Yes     Q      No
                                                                                                (check one)




(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Part I. Addresses should not be included here. )



I.          Parties in this complaint:

A.          List your name, address and telephone number. If you are presently in custody, include your
            identification number and the name and address of your current place of confinement. Do the same
            for any additional plaintiffs named. Attach additional sheets of paper as necessary.

Plaintiff           Name Carol  Melton
                           ___________________________________________________________________
                                   PO Box 1014
                    Street Address ____________________________________________________________
                   County, City Dutchess, Poughkeepsie
                                ______________________________________________________________
                   State & Zip Code New   York 12602
                                    __________________________________________________________
                    Telephone Number 845-204-3395
                                      ________________________________________________________


B.          List all defendants. You should state the full name of the defendant, even if that defendant is a
            government agency, an organization, a corporation, or an individual. Include the address where
            each defendant may be served. M ake sure that the defendant(s) listed below are identical to those
            contained in the above caption. Attach additional sheets of paper as necessary.



Defendant No. 1                         Poughkeepsie City School District
                                Name ___________________________________________________________
                                Street Address 11 College Ave
                                               ____________________________________________________

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                            County, City Dutchess, Poughkeepsie
                                         ______________________________________________________
                            State & Zip Code 12603
                                             __________________________________________________
                                            845-451- 4950
                            Telephone Number _________________________________________________


Defendant No. 2             Name ___________________________________________________________
                            Street Address ____________________________________________________
                            County, City ______________________________________________________
                            State & Zip Code __________________________________________________
                            Telephone Number _________________________________________________


Defendant No. 3             Name ___________________________________________________________
                            Street Address ____________________________________________________
                            County, City ______________________________________________________
                            State & Zip Code __________________________________________________
                            Telephone Number _________________________________________________


Defendant No. 4             Name ___________________________________________________________
                            Street Address ____________________________________________________
                            County, City ______________________________________________________
                            State & Zip Code __________________________________________________
                            Telephone Number _________________________________________________

II.       Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court:
cases involving a federal question and cases involving diversity of citizenship of the parties. Under 28
U. S. C. § 1331, a case involving the United States Constitution or federal laws or treaties is a federal
question case. Under 28 U. S. C. § 1332, a case in which a citizen of one state sues a citizen of another
state and the amount in damages is more than $75, 000 is a diversity of citizenship case.

A.        What is the basis for federal court jurisdiction? (check all that apply)
          Q     Federal Questions                      Q Diversity of Citizenship

B.        If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right
          is at issue? I_____________________________________________________________________
                        filed an Equal Employment Opportunity Commission charge and federal suit (#16CV9701)
          against them I've been retaliated against, harassed and intimidated. Since the judge said I cannot use
          ______________________________________________________________________________
           any retaliation after June 23, 2017 she told me to file another charge I have a 2nd notice of right to sue.
          ______________________________________________________________________________

C.        If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

          Plaintiff(s) state(s) of citizenship ____________________________________________________
          Defendant(s) state(s) of citizenship __________________________________________________
          ______________________________________________________________________________

III.      Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.

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                You may wish to include further details such as the names of other persons involved in the events giving
                rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
                number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.


                A.       Where did the events giving rise to your claim(s) occur?At    the Morse School in the Poughkeepsie
                                                                                    __________________________________
                City School District. Throughout the Poughkeepsie City School District.
                _______________________________________________________________________________________

                B.       What date and approximate time did the events giving rise to your claim(s) occur? Throughout the
                                                                                                            ____________
                June 24, 2017 - continuing to the present.
                _______________________________________________________________________________________


                _______________________________________________________________________________________

                                  SEE ATTACHMENT A
                C.         Facts: ___________________________________________________________________________
W hat           ______________________________________________________________________________________
h ap p en ed
to you ?        ______________________________________________________________________________________
                 ______________________________________________________________________________________
                 ______________________________________________________________________________________
W ho did         ______________________________________________________________________________________
w hat?
                 _____________________________________________________________________________________
                 ______________________________________________________________________________________
                 _____________________________________________________________________________________
W as an yon e
else
                 _____________________________________________________________________________________
in volved ?
                 _____________________________________________________________________________________
                 _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
W ho else
saw w hat        _____________________________________________________________________________________
h ap p en ed?
                 _____________________________________________________________________________________
                ______________________________________________________________________________________

                IV.       Injuries:

                 If you sustained injuries related to the events alleged above, describe them and state what medical
                 tr eatm ent, if any, you r equir ed and r eceived. __________________________________
                SEE  ATTACHMENT B
                 ______________________________________________________________________________________
                 _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
                _____________________________________________________________________________________
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V.        Relief:
State what you want the Court to do for you and the amount of monetary compensation, if any, you are
seeking, and the basis for such compensation. SEE ATTACHMENT C




I declare under penalty of perjury that the foregoing is true and correct.

Signed this30       day of December       , 20 20 .


                                  Signature of Plaintiff       ______________________
                                                             _____________________________________
                                                            PO Box 1014
                                  M ailing Address           _____________________________________
                                                            Poughkeepsie, NY 12602
                                                             _____________________________________
                                                             _____________________________________
                                                            845-204-3395
                                  Telephone Number           _____________________________________
                                  Fax Number (if you have one) _______________________________


Note:     All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners
          must also provide their inmate numbers, present place of confinement, and address.


For Prisoners:

I declare under penalty of perjury that on this _____ day of _________________, 20__, I am delivering
this complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for
the Southern District of New York.


                                  Signature of Plaintiff:   _____________________________________

                                  Inmate Number             _____________________________________




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                                               ATTACHMENT A
                                                (AMENDMENT)


                                                         Facts

                                                                                                                ,
                                    (Retaliation after June 23, 2017)


         1. Morse Elementary School Assistant Principal Ms. Nicole Penn conducted a group interview for
              summer positions, and it was stated in the email to the internal applicants that there would be
              no other t time scheduled for these positions. However, the applicants who did not show up for
              the group interview were given the jobs/ positions. In fact, at least one of the candidates
              selected for a position was not a certified teaching assistant as it required.
         2. Morse Elementary School Assistant Principal Ms. Nicole Penn gave me a 2nd interview for a
              summer position in July/August 2017 - 2nd but told Poughkeepsie City School District's lawyers I
              did not show up for the interview. However, there is written evidence contrary to her
              statement.
         3.   November 1, 2017, I was not approved for the empire state grant for my organization despite
              being the most successful program.
         4. In January 2018, the District appoint ed an employee with less seniority to an afterschool
              program which is an extra assignment. My union's collective bargaining agreement (CBA) states
              that seniority is the most important factor in all extra assignments.
         5.   Principal Ms. Nadine Dargan, 2015- 2016, 2016 - 2017, 2017 - 2018, 2018- 2019 and this school
              year, has declined to provide an air conditioner although all others have window units. During
              warmer weather it becomes unbearable especially with computers running continually. I have not
              received a reason why everyone except me has a window air conditioner.
         6.   In April 20, 2018, $427.20 was deducted from my paycheck that was not deducted in the past
              for the same reason.Then Assistant Superintendent for Human Resources Dr. Kathleen Farrell
              deducted the money from my check stating district policy and my unit contract but could not
              produce the applicable policy nor identify the section in my CBA.They had docked me another
              $185.13 (which they shouldn't have), but they reimbursed me because they had docked me for
              the same day twice.
         7.   In June 2018, the Poughkeepsie City School District refused to interview me for summer
              positions of which I was qualified. Many others received the posit ions and most had less
              seniority than me.



      Acts of Implicit/Explicit Bias, Discrimination and Retaliation


         8.   In September 11- 14, 2018 I received a phone call from Interim Superintendent Dr. Kathleen
              Farrell to take training for 4 days (Tuesday- Friday) from 8:00 AM to 4:00 PM. However, Dr. Eric
              Bradford Community Schools Grant Sit e Coordinator, applied restrictions to my training while
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    two white women were not limited. There were only three individuals who took this training, all
    were women (one Black (myself) and two White). Dr. Bradford allowed the two white women to
    receive full training while informing me that training started at different times. This purposeful
    misinformation caused me to receive only a very small fraction of the training than they did. Dr.
    Bradford had me wait for hours in the Poughkeepsie Middle School main office to speak to the
    school principal, Mr. D'Avilar, while training continued. After an inappropriate conversation
    regarding my presence there for training, the principal Mr. D'Avilar, sent me back to training. Dii.
    Bradford was visibly troubled by Mr. D'Avilar response. Dr. Bradford had the facilitator for this
    training, Ms. White from Creative Learning Systems, who is also white and is not an employee of
    the school district, to surveil me. She retained tabs/times of my whereabouts even to the
    bathroom. After Dr. Bradford and Ms. White said training had ended although it had not, Dr.
    Bradford along with Principal Mr. D'Avilar kicked me out of the Poughkeepsie Middle School.
    Both Mr. D'Avilar and Dr. Bradford ensured that I left the building. Dr. Bradford even followed
    me outside the school building.
9. On September 14, 2018, Dr. Farrell sent me an email about the training and lied about the
    events that took place.
10. In the months of August, September, October and November 2018, Poughkeepsie City School
    District's attorney Mr. Mark Rushfield in conjunction with Interim Superintendent Dr. Farrell
    continued to keep my settlement offer away from the Poughkeepsie City School District's School
    Board. The Board, collectively (not independently), are the only individuals who can make the
    decisions to either accept or reject the offer as the district policy states. Both Mr. Rushfield and
    Dr. Farrell are withholding the offer from the Poughkeepsie City School Board, which prevents
    any discussion and/or the ability to vote on any offer on the table. Mr. Rushfield and Dr. Farrell
    are purposefully preventing and thereby stopping the Poughkeepsie City School District School
    Board from settling with me which is another form and act of retaliation on my person.
11. December 5, 2018, I was not approved for the empire state grant for my organization despite
    being the most successful program.
12. June -August 2019 tried to have me moved from (and destroy) my media center even though it
    was the most successful in district history.
13. September 2020 Dr. Timothy Wade threatened to take sick pay from me.
14. September – November 2020 Morse School destroyed evidence that is imperative to my
    case.
15. October 2020 Dr. Timothy Wade threatened to have me fired.
16. October 2020 substituted for a teacher for 2 weeks but the district did not pay me.
17. October Principal Nadine Dargan destroyed my media center by moving it and placing it in a
    supply closet as an act of retaliation.
18. October Dr. Wade and Ms. Dargan tried put me as well as the students and community at
    risk of Covid-19.
19. November the Poughkeepsie City School District brought an unfounded 3020 against me to
    have me fired.
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                                         ATTACHMENT B
                                          (AMENDMENT)


                                                 Injuries
                                                                                                             ,
The constant harassment, intimidation, retaliation from my building principal Ms. Nadine Dargan and

assistant principal Ms. Nicole Penn. My building principal Ms. Nadine Dargan repeatedly tried to destroy

my lab which is the most successful in district history. Dr. Eric Bradford, Community Schools Grant Site

Coordinator had others follow and surveil me while preventing me from receiving training. The district

prevented me from applying for posit ions. Middle School Principal Mr. D'Avilar kicked me out of the

Poughkeepsie Middle School like I was a criminal or was causing some type of problem which is

stressful, embarrassing and humiliating. I was only there for training. Dr. Farrell, Ms. Nicole Penn and

others constantly lied about me and to me, creating a hostile work environment which made it difficult for

me to do my Job to best of my ability. Funding was given to everyone who applied except me. These

incidents and similar incidents have caused me a tremendous amount of stress and nervousness just

coming to work because I do not know what is going to happen next causing my hair to fall out among

other things. Assistant Superintendent Dr. Timothy Wade subjected me to intimidation by, threatening to

take my sick days, and to have me fired. Dr. Wade Superintendent using the same mentality, using

intimidation that he used in another school district. Dr. Rosser and the Poughkeepsie City School District

school board brought 3020 against me trying to fire me and ruin my reputation. Dr. Wade, Ms. Dargan,

Ms. Penn along with others has created a hostile work environment. The stress levels for me from the

Poughkeepsie City School District has extremely been elevated especially in this time of Covid-19.
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                                         ATTACHMENT C
                                             Retaliation
                                             Amendment
                                                  Relief


I am requesting the Court to order that:


    •   the Poughkeepsie City School District and/or it's designees to cease and desist all retaliatory acts

        against my person and from creating and encouraging a hostile work environment against me.

    •   the Poughkeepsie City School District to cease and desist any and al l discriminatory and racist

        treatment of me and my peers.

    •   the Poughkeepsie City School District to remove any and all negative and derogatory

        documentation pertaining to me and/or my husband from any and all internal and external

        district, building, personnel and personal files public or private.

    •   Restore my computer media center to the classroom that it was in


$4,800 2017 summer programs


$4,800 2018 summer programs


Approximately $12,000 for Empire State Grant for"2017 -2018 school year.


Approximately $12,000 for Empire State Grant for 2018 -2019 school year.


Approximately $44,800 for not being approved for the Empire State Grant 2017 -2018 for The Mighty

Young Techs™


Approximately $44,800 for not being approved for the Empire State Grant 2018 -2019 for The Mighty

Young Techs™


Approximately $44,800 for not being approved for the Empire State Grant 2019 -2020 for The Mighty

Young Techs™


$427.20 deducted from my paycheck


$250,000 - Slander & Libel
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$500,000 - Mental Anguish


$1350 – salary for substituting for a teacher for 9 days
